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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                       : CRIMINAL
                                                               : NO. 21-65
v.                                                             :
                                                               :
JOHN DOUGHERTY and                                             :
GREGORY FIOCCA                                                 :

                                                     ORDER

         AND NOW, this 7th day of July, 2022, after review of defendant Dougherty’s Motion to

Compel, the Supplement thereto, the Government’s Opposition, and having held multiple

hearings on the matter, the Defendant’s Motion to Compel is hereby GRANTED as follows:

                  1. Jury Selection and Trial scheduled for July 12, 2022, is ADJOURNED

                      because of the ongoing exchange of discovery and the impending pretrial

                      Motion(s) that will be filed as a result thereof;

                  2. The Government shall deliver all substantive communications including text

                      messages between the confidential informant and the Government to the

                      defendants within 48 hours of this Order; 1

                  3. The Government shall deliver all suitability reviews and determinations

                      completed for the confidential informant to the Court within 48 hours of this

                      Order; 2

                  4. The Government shall provide documentation as to when each member of the

                      filter team received Government Exhibit 1 from the June 30, 2022, hearing,

                      and filter members’ receipt of any other instructions governing the filter



1
        Substantive communications shall not include information such as discussing meeting locations.
2
        Given the Government’s representation at the July 6, 2022, hearing that such information would reveal the
confidential informant’s identity, the Court will review these materials before further disclosure to the defendants.
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                     process and the transmission of information to the prosecution/investigative

                     teams, to the defendants within 48 hours of this Order;

                 5. The Government shall produce the “electronic or manual log documenting all

                     actions and decisions of the filter team” per Government Exhibit 1 from the

                     June 30, 2022 hearing;

                 6. The Court finds the below footnoted excerpts from Source Reports relevant

                     and necessary to this case pursuant to the Federal Rules of Criminal

                     Procedure, common law rules of prosecutorial disclosure, relevant statutes,

                     and the defendants’ anticipated defenses. Accordingly, the Government shall

                     provide these excerpts to the defendants within 48 hours of this Order; 3 and



3
         1.      Date of contact: 7/09/2020; Paragraph 4; Beginning with “Dougherty has made”; Ending with
“behind the website are.”

        2.        Date of contact: 7/31/2020; Paragraph 8; Beginning with “Dougherty is also focused”; Ending
with “charged in a Federal Indictment.”

         3.       Date of contact: 8/01/2020; Paragraph 4; Beginning with “Dougherty is focused”; Ending with
“not following proper procedure.”

         4.      Date of contact: 9/25/2020; Paragraph 4; Beginning with “’Nick’ Lnu and ‘Joe Z.’ Lnu may be
cousins and”; Ending with “led to the altercation.”

        5.      Date of contact: 8/26/2020; Paragraph 2; Beginning with “There may be numerous”; Ending with
“Fiocca was handled.”

        6.      Date of contact: 9/16/2020; Paragraph 3; Beginning with “Dougherty talked about re-organizing”;
Ending with “impacted by these changes.”

       7.        Date of contact: 9/22/2020; Paragraph 7; Beginning with “Jim Foy is leading”; Ending with
“Dougherty is not present.”

         8.      Date of contact: 10/21/2020; Paragraph 3; Beginning with “Dougherty talked about how”; Ending
with “always around to help Local 98.”

         9.      Date of contact: 12/01/2020; Paragraph 9; Beginning with “Through the Family First COVID
Relief”; Ending with “paid for two weeks.”

        10.      Date of contact: 3/03/2021; Paragraph 2; Stating “Someone posted something threatening toward
Ray Palmieri on the website.”
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                 7. The defendant(s) shall file any discovery related Motions within three

                      business days after receipt of the above discovery.



                                                              BY THE COURT:


                                                              /s/ Jeffrey L. Schmehl
                                                              Jeffrey L. Schmehl, J.




        11.      Date of contact: 3/03/2021; Paragraph 5; Beginning with “Someone put something”; Ending with
“information about other people.”

        12.      Date of contact: 3/26/2021: Paragraph 14; After “4/08/21”; Stating “Dougherty wants to get more
stewards on more jobs.”

        13.      Date of contact: 3/26/2021; Paragraph 35; After “4/08/21”; Beginning with Dougherty held a
meeting with”; Ending with “like he was El Chapo.”

         14.     Date of contact: 05/06/2021; Paragraph 11-13; After “8/16/21”; Beginning with Dougherty
thinks”; Ending with “Jefferson job were not vaccinated.”

        15.       Date of contact: 6/06/2021; Paragraph 11; After 6/16/21”; Beginning with “The Local 98”; Ending
with “available to work.”

        16.      Date of contact: 6/06/2021; Paragraph 11; After “6/17/21”; Beginning with “As of June 4th”;
Ending with “through June 30, 2021.”

        17.        Date of contact: 6/06/2021; Paragraph 15; After “6/28/21”: stating “Greg Fiocca may be off of the
out-of-work list.”

         18.      Date of contact: 7/15/2021; Paragraph 3; Stating “Greg Fiocca is working at PRIMARK (the old
Gallery) for Ford Brothers.”

        19.       Date of Contact: 8/11/2021; Paragraph 4; Beginning with “Greg Fiocca is working at”; Ending
with “on that job.”
